     Case 8:22-bk-10948-SC        Doc 88 Filed 06/22/22 Entered 06/22/22 13:16:16        Desc
                                   Main Document    Page 1 of 4

     Peter C. Anderson
 1   United States Trustee
     Kenneth M. Misken
 2   Assistant United States Trustee
     Office of the United States Trustee
 3   411 West Fourth Street, Suite 7160
     Santa Ana, CA 92701-8000
 4   Tel: 714-338-3400
     Fax: 714-338-3421
 5   Kenneth.M.Misken@usdoj.gov
 6
 7
                                  UNITED STATES BANKRUPTCY COURT
 8
                     CENTRAL DISTRICT OF CALIFORNIA - SANTA ANA DIVISION
 9
10
       In re:                                           CASE NUMBER: 8:22-10948-SC
11     TRX HOLDCO, LLC, a Delaware limited
       liability company                                CHAPTER 11
12
                                                        Jointly Administered with Case No.:
         Debtor and Debtor-in-possession                22-10949-SC
13     _____________________________________
14
       In re:
15     FITNESS ANYWHERE LLC, a Delaware                 APPOINTMENT AND NOTICE OF
       limited liability company, dba TRX and TRX       APPOINTMENT OF COMMITTEE OF
16     Training                                         UNSECURED CREDITOR AS TO
                                                        FITNESSS ANYWHERE, LLC ONLY
17
        Debtor and Debtor-in-possession
18     _____________________________________
19     Affects:
20
        All Debtors                                    Date: [NO HEARING REQUIRED]
21                                                      Time:
        AFFECTS TRX HOLDCO, LLC ONLY                   Courtroom: 5C
22
23     : AFFECTS FITNESS ANYWHERE LLC,
       ONLY
24
25
26
27
28


                                                    1
     Case 8:22-bk-10948-SC         Doc 88 Filed 06/22/22 Entered 06/22/22 13:16:16                           Desc
                                    Main Document    Page 2 of 4


            TO THE HONORABLE SCOTT CLARKSON UNITED STATES BANKRUPTCY
 1
 2   JUDGE, DEBTORS, DEBTORS’ ATTORNEY AND PARTIES IN INTEREST:

 3          Pursuant to 11 U.S.C. §1102(a)(1), the undersigned hereby appoints the following three (3)
 4   members to serve on a Committee of Creditors holding unsecured claims in the case of Fitness
 5
     Anywhere, LLC, case number 8:22-10949-SC.
 6
 7                                       SEE EXHIBIT A

 8
                                                        Respectfully Submitted,
 9
                                                        United States Trustee
10
                                                                               Digitally signed by KENNETH

11                                                     KENNETH MISKEN MISKEN
                                                        _______________________
                                                                      Date: 2022.06.22 12:41:54 -07'00'



12          Dated: June 22, 2022                        Kenneth M. Misken

13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28


                                                       2
     Case 8:22-bk-10948-SC         Doc 88 Filed 06/22/22 Entered 06/22/22 13:16:16   Desc
                                    Main Document    Page 3 of 4


 1   CASE NUMBER: 8:22-10949-SC
 2   CASE NAME: FITNESS ANYWHERE, LLC
 3
 4   United Parcel Service, Inc. and its affiliated entities
 5   Attention: Farah C. Spainhour
 6   55 Glenlake Parkway
 7   Atlanta, GA 30328
 8
 9   Core Health & Fitness, LLC
10   Attention: Sy Mares
11   4400 NE 77th Avenue, Suite 250
12   Vancouver, WA 98662
13
14   Exemplar Design, LLC
15   Attention: Matt Nelson
16   4680 Parkway Drive, Suite 300
17   Mason, OH 45040
18
19
20
21
22
23
24
25
26
                                                       EXHIBIT A
27
28


                                                          3
         Case 8:22-bk-10948-SC            Doc 88 Filed 06/22/22 Entered 06/22/22 13:16:16                      Desc
                                           Main Document    Page 4 of 4



                                        PROOF OF SERVICE OF DOCUMENT
1

2
     I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
     OFFICE OF THE U.S. TRUSTEE, 411 W. 4TH STREET, #7160, SANTA ANA, CA 92701.
3     A true and correct copy of the foregoing document described as Appointment and Notice of
4
      Appointment of Committee of Unsecured Creditors as to Fitness Anywhere, LLC
      ONLY
5    will be served or was served (a) on the judge in chambers in the form and manner required by LBR 5005-
     2(d); and (b) in the manner indicated below:
6

7
     I. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (“NEF”) – Pursuant to
     controlling General Order(s) and Local Bankruptcy Rule(s) (“LBR”), the foregoing document will be served by the
8    court via NEF and hyperlink to the document. On JUNE 22 ,2022, I checked the CM/ECF docket for this
     bankruptcy case or adversary proceeding and determined that the following person(s) are on the Electronic Mail
9    Notice List to receive NEF transmission at the email address(es) indicated below:

10
         •   Ron Bender rb@lnbyb.com
11       •   Michael J Hauser michael.hauser@usdoj.gov
         •   Marsha A Houston mhouston@reedsmith.com, hvalencia@reedsmith.com
12
         •   Krikor J Meshefejian kjm@lnbyg.com
13       •   Christopher O Rivas crivas@reedsmith.com, chris-rivas-8658@ecf.pacerpro.com
         •   Lindsey L Smith lls@lnbyg.com, lls@ecf.inforuptcy.com
14
         •   United States Trustee (SA) ustpregion16.sa.ecf@usdoj.gov
15
     iI. SERVED BY U.S. MAIL OR OVERNIGHT MAIL(indicate method for each person or entity served): On,
16   JUNE 22, 2022, I served the following person(s) and/or entity(ies) at the last known address(es) in this bankruptcy
     case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States
17   Mail, first class, postage prepaid, and/or with an overnight mail service addressed as follows. Listing the judge here
     constitutes a declaration that mailing to the judge will be completed no later than 24 hours after the document is fled.
18

19
     FITNESS ANYWHERE, LLC
     ATTN: BRENT LEFFEL
20   450 NEWPORT CENTER DRIVE, #590
     NEWPORT BEACH, CA 92660
21
                                             SEE ATTACHED EXHBIT “A”
22

23   III. SERVED BY PERSONAL DELIVERY, FACSIMILE TRANSMISSION OR EMAIL (indicate method for
     each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on JUNE 22, 2022, I served the
24   following person(s) and/or entity(ies) by personal delivery, or (for those who consented in writing to such service
     method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration that
25   personal delivery on the judge will be completed no later than 24 hours after the document is filed.

26
              I declare under penalty of perjury under the laws of the United States of America that the foregoing
27   is true and correct.
         June 22, 2022               Tari King                           /s/ Tari King
28      Date                          Type Name                          Signature

                                                                1
